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                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW MEXICO

CHRISTOPHER CHAVEZ,

       Plaintiff,

       v.                                                Case No. 1:20-cv-00812-KWR-SMV

ABEL RENTERIA, JOHN DOE 1,
CHRISTOPHER TURNBOW, CARLOS SAENZ,
DANIEL BLANCO, in their individual capacities,
ESTEVAN FLORES, in his official capacity,
NEW MEXICO CORRECTIONS
DEPARTMENT.

       Defendants.

    ORDER GRANTING DEFENDANT TURNBOW’S UNOPPOSED MOTION FOR
      EXTENSION OF PAGE LIMITATIONS FOR DEFENDANT’S REPLY TO
           PLAINTIFF’S RESPONSE TO DEFENDANT TURNBOW’S
                  MOTION FOR SUMMARY JUDGMENT

       THIS MATTER comes before the Court on Defendant Turnbow’s Unopposed Motion

for Extension of Page Limitations for Defendant’s Reply to Plaintiff’s Response to Defendant

Turnbow’s Motion for Summary Judgment (Doc. 121). The Court having reviewed the motion

and the pleadings and being fully advised therein, find the Motion is WELL-TAKEN and

GRANTED. Accordingly, the Court further FINDS:

       1. Defendant Turnbow is granted seventeen (17) additional pages for Defendant’s Reply

            to Plaintiff’s Response to Defendant Turnbow’s Motion for Summary Judgment for a

            total of 29 pages.

       IT IS SO ORDERED.


                                                   _________________________________
                                                   KEA W. RIGGS
                                                   UNITED STATES DISTRICT JUDGE
